Case 22-02080   Doc 10   Filed 03/09/22 Entered 03/09/22 14:13:21   Desc Main
                           Document     Page 1 of 8
Case 22-02080   Doc 10   Filed 03/09/22 Entered 03/09/22 14:13:21   Desc Main
                           Document     Page 2 of 8
Case 22-02080   Doc 10   Filed 03/09/22 Entered 03/09/22 14:13:21   Desc Main
                           Document     Page 3 of 8
Case 22-02080   Doc 10   Filed 03/09/22 Entered 03/09/22 14:13:21   Desc Main
                           Document     Page 4 of 8
Case 22-02080   Doc 10   Filed 03/09/22 Entered 03/09/22 14:13:21   Desc Main
                           Document     Page 5 of 8
Case 22-02080   Doc 10   Filed 03/09/22 Entered 03/09/22 14:13:21   Desc Main
                           Document     Page 6 of 8
    Case 22-02080   Doc 10   Filed 03/09/22 Entered 03/09/22 14:13:21   Desc Main
                               Document     Page 7 of 8








Case 22-02080   Doc 10   Filed 03/09/22 Entered 03/09/22 14:13:21   Desc Main
                           Document     Page 8 of 8
